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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN THE MATTER OF:                               )           CASE NO.         20-11827
                                                )           CHAPTER          13
PAULA SUZETTE WALKER                            )           REG/tk
                                                )
       Debtor(s)

                      ORDER CONFIRMING PLAN AS MODIFIED

       Dated on    February 23, 2021

       A hearing with regard to confirmation of the proposed chapter 13 plan was held at Fort

Wayne, Indiana, on February 23, 2021, with Debra Miller, trustee, present.

       Debtor’s chapter 13 plan, filed on January 7, 2021, as modified on January 28, 2021 and

February 19, 2021, is confirmed.

       SO ORDERED.


                                            /s/ Robert E. Grant
                                            Chief Judge, United States Bankruptcy Court
